John M. Thomas, OSB No. 024691
jthomas@mccarthyholthus.com
McCarthy Holthus, LLP
920 SW Third Ave, First Floor
Portland, OR 97204
Telephone: (971) 201-3203
Facsimile: (971) 201-3202
Attorneys for Defendants FNMA and Nationstar




                      IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF OREGON

DENICE IRLENE WARD,                            )     Case No.: 12-33720-tmb13
                                               )
               Debtor,                         )
                                               )     Adv. Proc No.: 19-03107-tmb
                                               )
DENICE IRLENE WARD                             )     DEFENDANTS FEDERAL NATIONAL
                                               )     MORTGAGE ASSOCIATION and
               Plaintiff,                      )     NATIONSTAR MORTGAGE LLC’S
                                               )     ANSWER TO PLAINTIFF’S COMPLAINT
                                               )
       VS.
                                               )
                                               )
FEDERAL NATIONAL MORTGAGE                      )
ASSOCIATION and                                )
NATIONSTAR MORTGAGE LLC,                       )
                                               )
               Defendants.                     )
                                               )

       COMES NOW, Defendants Federal National Mortgage Association (“Defendant

FNMA”) and Nationstar Mortgage LLC (“Defendant Nationstar”) (collectively, “Answering

Defendants”) and answer Plaintiff’s Complaint as follows:

                                      Rule 7012-1 Compliance

   1. Defendants do not consent to entry of final orders and judgments in the United States

       Bankruptcy Court, District of Oregon.
 PAGE 1 – DEFENDANTS FNMA AND NATIONSTAR                                        McCarthy & Holthus, LLP
 MORTGAGE LLC’S ANSWER     OR-19-873513-CV                                      920 SW 3rd Ave, 1st Floor
                                                                                     Portland, OR 97204
                                                                                     PH: (855) 809-3977
                                                                                     FX: (971) 201-3202

                         Case 19-03107-tmb         Doc 20   Filed 12/02/19
                                             ANSWER

  2. As to Paragraphs 1, Plaintiff presents statements of the case to which no response is

      required. However to the extent a response is required, Answering Defendants deny.

  3. As to Paragraphs 2 through 3, Plaintiff presents legal conclusions to which no response is

      required, however to the extent a response is required, Answering Defendants deny.

  4. As to Paragraph 4, Answering Defendants admit.

  5. As to Paragraph 5, Answering Defendants admit in part that Defendant Federal National

      Mortgage Company is a government sponsored enterprise and publicly traded company,

      but as to the remainder of Paragraph 5, Answering Defendants deny.

  6. As to Paragraph 6, Answering Defendants admit in part that Defendant Nationstar

      Mortgage LLC acquired Seterus LLC, a mortgage servicer, but as to the remainder of

      Paragraph 6, Answering Defendants deny.

  7. As to Paragraph 7, Plaintiff presents a legal conclusion to which no response is required,

      however to the extent a response is required, Answering Defendants deny.

  8. As to Paragraph 8, Plaintiff presents a statement of the case to which no response is

      required.

  9. As to Paragraphs 9 through 15, Answering Defendants admit.

  10. As to Paragraphs 16 through 21, Plaintiff presents statements of the case to which no

      response is required. However, to the extent a response is required, Answering

      Defendants deny.

  11. As to Paragraph 22, Answering Defendants admit.

  12. Plaintiff’s Complaint does not contain a Paragraph 23 requiring a response.
PAGE 2 – DEFENDANTS FNMA AND NATIONSTAR                                       McCarthy & Holthus, LLP
MORTGAGE LLC’S ANSWER     OR-19-873513-CV                                     920 SW 3rd Ave, 1st Floor
                                                                                   Portland, OR 97204
                                                                                   PH: (855) 809-3977
                                                                                   FX: (971) 201-3202

                       Case 19-03107-tmb      Doc 20     Filed 12/02/19
  13. As to Paragraphs 24 through 27, Answering Defendants admit that a confidential

      settlement was reached and that said settlement speaks for itself, but otherwise lack

      sufficient information to admit or deny the allegations and therefore denies the allegations

      on that basis.

  14. As to Paragraphs 28 through 37, Answering Defendants admit that the mortgage

      statements and correspondence in question were produced, but as to the remainder of the

      allegations, lack sufficient information to admit or deny the allegations and therefore

      denies the allegations on that basis.

  15. As to Paragraph 38, Answering Defendants lack sufficient information to admit or deny

      the allegations and therefore denies the allegations on that basis.

  16. Answering Paragraphs 39 through 46, Answering Defendants admit that Plaintiff’s

      Exhibit “H” and “I” are attached to Plaintiff’s Complaint, but as to the remaining

      allegations, Answering Defendants lack sufficient information to admit or deny the

      allegations and therefore denies the allegations on that basis.

  17. As to Paragraphs 47 and 49, Answering Defendants deny.

  18. As to Paragraphs 50 through 52, Answering Defendants lack sufficient information to

      admit or deny the allegations and therefore denies the allegations on that basis.

  19. As to Paragraph 53, Answering Defendants reincorporate and re-assert their respective

      responses, admissions, and denials to Paragraphs 1 through 59 incorporated and

      referenced therein.

  20. As to Paragraph 54, Plaintiff presents legal conclusions that do not require a response,

      however to the extent a response is required, Answering Defendants deny.

  21. As to Paragraphs 55, Answering Defendants lack sufficient information to admit or deny

      the allegations and therefore denies the allegations on that basis.
PAGE 3 – DEFENDANTS FNMA AND NATIONSTAR                                        McCarthy & Holthus, LLP
MORTGAGE LLC’S ANSWER     OR-19-873513-CV                                      920 SW 3rd Ave, 1st Floor
                                                                                    Portland, OR 97204
                                                                                    PH: (855) 809-3977
                                                                                    FX: (971) 201-3202

                       Case 19-03107-tmb        Doc 20     Filed 12/02/19
  22. As to Paragraph 56, Plaintiff does not allege a subject performed the alleged actions

      described therein, but Answering Defendants deny to the extent they were the intended

      subjects.

  23. As to Paragraph 57, Answering Defendants lack sufficient information to admit or deny

      the allegations and therefore denies the allegations on that basis.

  24. As to Paragraphs 58 through 59, the legal conclusions therein do not require a response,

      however to the extent a response is required, Answering Defendants deny. Answering

      Defendants deny the remaining allegations on the basis that they lack sufficient

      information to admit or deny the allegations and therefore denies the allegations on that

      basis.

  25. As to Paragraph 60, Answering Defendants deny.

  26. As to Paragraph 61, Answering Defendants reincorporate and re-assert their respective

      responses, admissions, and denials to Paragraphs 1 through 59 incorporated and

      referenced therein.

  27. At to Paragraph 62, Answering Defendants admit.

  28. As to Paragraphs 63 through 64, Answering Defendants deny.

  29. As to Paragraph 65, Answering Defendants reincorporate and re-assert the respective

      responses, admissions, and denials to Paragraphs 1 through 59 incorporated and

      referenced therein.

  30. As to Paragraph 66, Answering Defendants admit only that Defendant FNMA was a

      creditor in Plaintiff’s bankruptcy, otherwise the Answering Defendants deny the

      remaining allegations.

  31. As to Paragraphs 67 through 71, Answering Defendants deny.
PAGE 4 – DEFENDANTS FNMA AND NATIONSTAR                                        McCarthy & Holthus, LLP
MORTGAGE LLC’S ANSWER     OR-19-873513-CV                                      920 SW 3rd Ave, 1st Floor
                                                                                    Portland, OR 97204
                                                                                    PH: (855) 809-3977
                                                                                    FX: (971) 201-3202

                       Case 19-03107-tmb        Doc 20     Filed 12/02/19
  32. As to Paragraph 72, Answering Defendants reincorporate and re-assert the respective

      responses, admissions, and denials to Paragraphs 1 through 59 incorporated and

      referenced therein.

  33. As to Paragraphs 73 through 77, Answering Defendants responds that the cited

      regulations speak for themselves, but otherwise deny the allegations therein.

  34. As to Paragraph 78, Answering Defendants lack sufficient information to admit or deny

      the allegations and therefore denies the allegations on that basis.

  35. As to Paragraphs 79 through 80, Plaintiff presents legal conclusions that do not require a

      response, however to the extent a response is required, Answering Defendants deny.

  36. As to Paragraph 81, Answering Defendants lack sufficient information to admit or deny

      the allegations and therefore deny the allegations on that basis.

  37. As to Paragraphs 82 through 84, Answering Defendants deny.

  38. As to Paragraph 85, Answering Defendants reincorporate and re-assert their respective

      responses, admissions, and denials to Paragraphs 1 through 59 incorporated and

      referenced therein.

  39. As to Paragraphs 86 through 88, Answering Defendants respond that the cited regulations

      speak for themselves, but otherwise deny the allegations therein.

  40. As to Paragraph 89, Answering Defendants lack sufficient information to admit or deny

      the allegations and therefore denies the allegations on that basis.

  41. As to Paragraph 90, Answering Defendants admits that the billing statements identified as

      Exhibits “A”, “C”, “D”, “E”, and “G” were produced and speak for themselves, but as to

      the remaining allegations, Answering Defendants lack sufficient information to admit or

      deny the allegations and therefore deny the allegations on that basis.

  42. Answering Paragraph 91, Answering Defendants deny.
PAGE 5 – DEFENDANTS FNMA AND NATIONSTAR                                        McCarthy & Holthus, LLP
MORTGAGE LLC’S ANSWER     OR-19-873513-CV                                      920 SW 3rd Ave, 1st Floor
                                                                                    Portland, OR 97204
                                                                                    PH: (855) 809-3977
                                                                                    FX: (971) 201-3202

                       Case 19-03107-tmb        Doc 20     Filed 12/02/19
  43. Plaintiff’s Complaint does not contain Paragraph 92 through 100 requiring a response.

  44. As to Paragraph 101, Answering Defendants admit that the billing statements identified as

      Exhibits “A”, “C”, “D”, “E”, and “G” were produced and speak for themselves, but as to

      the remaining allegations, Answering Defendants lack sufficient information to admit or

      deny the allegations and therefore deny the allegations on that basis.

  45. As to Paragraph 102 through 104, Answering Defendants deny.

  46. As to Paragraph 105, Answering Defendants reincorporate and re-assert their respective

      responses, admissions, and denials to Paragraphs 1 through 59 incorporated and

      referenced therein.

  47. As to Paragraphs 106 through 108, Answering Defendants lack sufficient information to

      either admit or deny the allegations and therefore deny the allegations on that basis.

  48. As to Paragraph 109, Answering Defendants deny.

  49. As to Paragraph 110, Defendant Nationstar admits it sent a letter to Plaintiff identified as

      Exhibit “F” and that said letter speaks for itself, but otherwise denies the remaining

      allegation.

  50. As to Paragraph 111, Answering Defendants deny.

  51. Plaintiff’s Complaint does not contain Paragraphs 112 through 116 requiring a response.

  52. As to Paragraphs 117 through 118, Answering Defendants deny.

  53. As to Paragraph 119, Answering Defendants reincorporate and re-assert their respective

      responses, admissions, and denials to Paragraphs 1 through 59 incorporated and

      referenced therein.

  54. As to Paragraph 120, Answering Defendants lack sufficient information to either admit or

      deny the allegations and therefore deny the allegations on that basis.

  55. As to Paragraphs 121 through 124, Answering Defendants deny.
PAGE 6 – DEFENDANTS FNMA AND NATIONSTAR                                         McCarthy & Holthus, LLP
MORTGAGE LLC’S ANSWER     OR-19-873513-CV                                       920 SW 3rd Ave, 1st Floor
                                                                                     Portland, OR 97204
                                                                                     PH: (855) 809-3977
                                                                                     FX: (971) 201-3202

                       Case 19-03107-tmb        Doc 20     Filed 12/02/19
  56. Any remaining allegations in Plaintiff’s complaint are denied.

                                  AFFIRMATIVE DEFENSES

  57. Answering Defendants hereby alleges the following affirmative defenses without

      conceding that Defendants necessarily bears the burden of proof:

  58. Plaintiff has failed to state a claim for relief.

  59. Plaintiff’s claims are barred by the equities.

  60. The Court is without subject matter jurisdiction.

  61. The Bankruptcy Case No. 12-33720 is closed, and was closed at the time the Complaint

      was filed.

  62. Plaintiff’s claims are barred by the applicable statute of limitations

  63. Any violation was not intentional and resulted from a bona fide error notwithstanding the

      maintenance of procedures reasonably adapted to avoid any such error.

  64. Defendants acted in good faith in conformity with applicable rules, regulations, or

      interpretations.

  65. Plaintiffs have failed to mitigate their alleged damages.

  66. One or more of Plaintiffs claims are barred by res judicata, insofar as plaintiff’s claims are

      not based in contract.



                                     PRAYER FOR RELIEF

      WHEREFORE, Answering Defendants pray for:

              (A) For dismissal of each and every one Plaintiff’s claims against Defendants with

          prejudice,

              (C) For leave to amend Defendants’ pleadings freely,


PAGE 7 – DEFENDANTS FNMA AND NATIONSTAR                                         McCarthy & Holthus, LLP
MORTGAGE LLC’S ANSWER     OR-19-873513-CV                                       920 SW 3rd Ave, 1st Floor
                                                                                     Portland, OR 97204
                                                                                     PH: (855) 809-3977
                                                                                     FX: (971) 201-3202

                         Case 19-03107-tmb         Doc 20   Filed 12/02/19
              (D) For such other relief the court deems appropriate.

DATED: December 2, 2019

                                            McCarthy & Holthus, LLP

                                            s/ John Thomas
                                            John M. Thomas, OSB# 024691
                                            920 SW 3rd Ave, 1st Floor
                                            Portland, OR 97204
                                            Phone: (971) 201-3203
                                            Fax: (971) 201-3202
                                            jthomas@mccarthyholthus.com
                                            Of Attorneys for FNMA and Nationstar




PAGE 8 – DEFENDANTS FNMA AND NATIONSTAR                                    McCarthy & Holthus, LLP
MORTGAGE LLC’S ANSWER     OR-19-873513-CV                                  920 SW 3rd Ave, 1st Floor
                                                                                Portland, OR 97204
                                                                                PH: (855) 809-3977
                                                                                FX: (971) 201-3202

                       Case 19-03107-tmb       Doc 20     Filed 12/02/19
                                   CERTIFICATE OF SERVICE

     I hereby certify that I served the foregoing DEFENDANTS FEDERAL NATIONAL
MORTGAGE ASSOCIATION and NATIONSTAR MORTGAGE LLC’S ANSWER TO
PLAINTIFF’S COMPLAINT upon the following parties in the manner indicated below on this
Monday, December 2, 2019 as follows:

VIA ECF:

Alexzander C.J. Adams
Noah C. Bishop
Law Offices of Alexzander C.J. Adams, P.C.
14705 SW Millikan Way
Beaverton, OR 97006



VIA US MAIL:

Marc E. Dann
DannLaw
PO Box 6031040
Cleveland, OH 44103



DATED: December 2, 2019

                                             MCCARTHY & HOLTHUS LLP

                                             s/ John Thomas
                                             John Thomas, OSB. No 024691
                                             Email: jthomas@mccarthyholthus.com
                                             920 SW Third Ave, First Floor
                                             Portland, OR 97204
                                             Telephone: (971) 201-3203
                                             Facsimile: (971) 201-3202
                                             Of Attorneys for FNMA and Nationstar




 PAGE 9 – DEFENDANTS FNMA AND NATIONSTAR                                    McCarthy & Holthus, LLP
 MORTGAGE LLC’S ANSWER     OR-19-873513-CV                                  920 SW 3rd Ave, 1st Floor
                                                                                 Portland, OR 97204
                                                                                 PH: (855) 809-3977
                                                                                 FX: (971) 201-3202

                        Case 19-03107-tmb       Doc 20   Filed 12/02/19
